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15                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
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                                                     Case No.: 3:22-cv-03461-JSC
18
     In re BAM Trading Services Inc. Securities
19   Litigation
                                                     JOINT STATUS REPORT
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                            JOINT STATUS REPORT - 3:22-CV-03461-JSC
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 1          Pursuant to the Court’s Order (Dkt. No. 73) requesting a status report by December 1,
 2   2024, the parties write to update the Court that this matter has been resolved. The parties
 3   anticipate the remaining Defendant, BAM Trading Services Inc., will be voluntarily dismissed
 4   by the end of December 2024.
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     Dated: November 27, 2024                   Respectfully Submitted,
 7
                                                FREEDMAN NORMAND FRIEDLAND LLP
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                                                /s/ Alex Potter
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                             JOINT STATUS REPORT - 3:22-CV-03461-JSC
        Case 3:22-cv-03461-JSC        Document 75       Filed 11/27/24       Page 3 of 3




 1                                   CERTIFICATE OF SERVICE
 2            I hereby certify that on November 27, 2024, a copy of the foregoing document was
 3   electronically filed using the CM/ECF system which will send a notice of electronic filing to all
 4   CM/ECF participants. In compliance with Civil Local Rule 5-1(i)(3), I attest that Michael Gleason
 5   has concurred in this filing.
 6

 7                                              /s/ Alex Potter
 8                                              Alex Potter (pro hac vice)

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                              JOINT STATUS REPORT - 3:22-CV-03461-JSC
